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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     ROBERT HEATH, ET AL.,                              Case No. 15-cv-01824-BLF
                                   8                    Plaintiffs,                         OMNIBUS ORDER GRANTING IN
                                                                                            PART AND DENYING IN PART
                                   9             v.                                         UNOPPOSED ADMINISTRATIVE
                                                                                            MOTIONS TO SEAL WITHOUT
                                  10     GOOGLE LLC,                                        PREJUDICE
                                  11                    Defendant.                          [Re: ECF 350, 353, 359]
                                  12
Northern District of California
 United States District Court




                                  13          Before the Court are several unopposed administrative motions to file under seal portions
                                  14   of Defendant’s summary judgment motion, Defendant’s motion for leave to seek reconsideration,
                                  15   and Plaintiffs’ opposition to Defendant’s motion for leave to seek reconsideration, respectively.
                                  16   ECF 350, 353, 359. For the reasons stated below, the motions at ECF 353 and 359 are
                                  17   GRANTED, and the motion at ECF 350 is GRANTED IN PART AND DENIED IN PART
                                  18   without prejudice.
                                  19     I.   LEGAL STANDARD
                                  20          “Historically, courts have recognized a ‘general right to inspect and copy public records

                                  21   and documents, including judicial records and documents.’” Kamakana v. City & Cty. Of

                                  22   Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (quoting Nixon v. Warner Commc’ns, Inc., 435

                                  23   U.S. 589, 597 & n. 7 (1978)). Accordingly, when considering a sealing request, “a ‘strong

                                  24   presumption in favor of access’ is the starting point.” Id. (quoting Foltz v. State Farm Mut. Auto.

                                  25   Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)). Parties seeking to seal judicial records relating to

                                  26   motions that are “more than tangentially related to the underlying cause of action” bear the burden

                                  27   of overcoming the presumption with “compelling reasons” that outweigh the general history of

                                  28   access and the public policies favoring disclosure. Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d
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                                   1   1092, 1099 (9th Cir. 2016); Kamakana, 447 F.3d at 1178–79.

                                   2          However, “while protecting the public’s interest in access to the courts, we must remain

                                   3   mindful of the parties’ right to access those same courts upon terms which will not unduly harm

                                   4   their competitive interest.” Apple Inc. v. Samsung Elecs. Co., Ltd., 727 F.3d 1214, 1228–29 (Fed.

                                   5   Cir. 2013). Records attached to motions that are “not related, or only tangentially related, to the

                                   6   merits of a case” therefore are not subject to the strong presumption of access. Ctr. for Auto

                                   7   Safety, 809 F.3d at 1099; see also Kamakana, 447 F.3d at 1179 (“[T]he public has less of a need

                                   8   for access to court records attached only to non-dispositive motions because those documents are

                                   9   often unrelated, or only tangentially related, to the underlying cause of action.”). Parties moving

                                  10   to seal the documents attached to such motions must meet the lower “good cause” standard of

                                  11   Rule 26(c). Kamakana, 447 F.3d at 1179 (internal quotations and citations omitted). This

                                  12   standard requires a “particularized showing,” id., that “specific prejudice or harm will result” if the
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                                  13   information is disclosed. Phillips ex rel. Estates of Byrd v. Gen. Motors Corp., 307 F.3d 1206,

                                  14   1210–11 (9th Cir. 2002); see Fed. R. Civ. P. 26(c). “Broad allegations of harm, unsubstantiated by

                                  15   specific examples of articulated reasoning” will not suffice. Beckman Indus., Inc. v. Int’l Ins. Co.,

                                  16   966 F.2d 470, 476 (9th Cir. 1992). A protective order sealing the documents during discovery

                                  17   may reflect the court’s previous determination that good cause exists to keep the documents

                                  18   sealed, see Kamakana, 447 F.3d at 1179–80, but a blanket protective order that allows the parties

                                  19   to designate confidential documents does not provide sufficient judicial scrutiny to determine

                                  20   whether each particular document should remain sealed. See Civ. L.R. 79-5(d)(1)(A) (“Reference

                                  21   to a stipulation or protective order that allows a party to designate certain documents as

                                  22   confidential is not sufficient to establish that a document, or portions thereof, are sealable.”).

                                  23          In addition to making particularized showings of good cause, parties moving to seal

                                  24   documents must comply with the procedures established by Civ. L.R. 79-5. Pursuant to Civ. L.R.

                                  25   79-5(b), a sealing order is appropriate only upon a request that establishes the document is

                                  26   “sealable,” or “privileged or protectable as a trade secret or otherwise entitled to protection under

                                  27   the law.” “The request must be narrowly tailored to seek sealing only of sealable material, and

                                  28   must conform with Civil L.R. 79-5(d).” Civ. L.R. 79-5(b). In part, Civ. L.R. 79-5(d) requires the
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                                   1   submitting party to attach a “proposed order that is narrowly tailored to seal only the sealable

                                   2   material” which “lists in table format each document or portion thereof that is sought to be

                                   3   sealed,” Civ. L.R. 79-5(d)(1)(b), and an “unredacted version of the document” that indicates “by

                                   4   highlighting or other clear method, the portions of the document that have been omitted from the

                                   5   redacted version.” Civ. L.R. 79-5(d)(1)(d). “Within 4 days of the filing of the Administrative

                                   6   Motion to File Under Seal, the Designating Party must file a declaration as required by subsection

                                   7   79-5(d)(1)(A) establishing that all of the designated material is sealable.” Civ. L.R. 79-5(e)(1).

                                   8    II.     DISCUSSION
                                   9            The Court has reviewed Defendant’s and Plaintiffs’ sealing motions and the declarations of

                                  10   the designating parties submitted in support. The Court finds that the parties have articulated

                                  11   compelling reasons to seal certain portions of the submitted documents. The Court’s rulings on

                                  12   the sealing requests are set forth in the tables below.
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                                  13          A.     ECF 350
                                        ECF           Document to be             Result                           Reasoning
                                  14     No.              Sealed:
                                  15    350-3      Portions of Google’s     GRANTED as           References sealable material in below
                                        (352)      Motion for Summary       to redacted          exhibits.
                                  16               Judgment                 portions.
                                                                                                 Because the redacted portions of the
                                  17                                                             document may be sealed, no further action is
                                                                                                 required.
                                  18    350-5      Portions of              GRANTED as           Page 6, line 3 contains highly confidential
                                       (352-1)     Declaration of Brian     to redacted          and sensitive information relating to
                                  19               D. Berry In Support of   portions.            Google’s strategies and techniques for
                                                   Google’s Motion to                            interviewing candidates, the release of which
                                  20               for Summary                                   could harm Google. Mot. at 2; Ong. Decl. ¶¶
                                                   Judgment (“Berry                              4, 12–13, ECF 375; see ECF 105; ECF 198;
                                  21               Decl.”)                                       ECF 253; ECF 298.

                                  22                                                             In the remainder, Google seeks to redact the
                                                                                                 names of certain opt-in plaintiffs, which
                                  23                                                             Plaintiffs have designated confidential. Ong.
                                                                                                 Decl. ¶ 10. Though Plaintiffs did not file the
                                  24                                                             required declaration in support of sealing, the
                                                                                                 Court finds compelling reasons to seal these
                                  25                                                             names, as it has in prior orders. See ECF
                                                                                                 256, 298, 323, 325, 333.
                                  26
                                                                                                 Because Google has filed a redacted version
                                  27                                                             of this document on the docket, no further
                                                                                                 action is required.
                                  28
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                                        350-7    Berry Decl. Ex. 2       GRANTED as   The Class Certification Ong Declaration
                                   1   through   (Declaration of Brian   to entire    contains detailed information about the
                                       350-21    Ong in Support of       documents.   stages in Google’s hiring process, a
                                   2    (352-3   Google, LLC’s                        description of how gHire is used to record
                                          and    Motion to Decertify                  and display information about candidates,
                                   3    352-4)   Collective Action,                   information about the criteria Google uses to
                                                 signed on April 30,                  evaluate candidates for SWE, SRE, and
                                   4             2018 and Exhibits                    SysEng positions, a description of certain
                                                 thereto)                             revisions Google has made to its interview
                                   5                                                  feedback system, a description of how Hiring
                                                                                      Committees operate, and excerpts from
                                   6                                                  gHire dossiers. Ong. Decl. ¶¶ 4–5. This
                                                                                      document was previously filed under seal
                                   7                                                  pursuant to Court order. ECF 253.
                                   8                                                  The exhibits to the Class Certification Ong
                                                                                      Declaration also contain competitively
                                   9                                                  sensitive information from Google’s gHire
                                                                                      system, access to which is limited to
                                  10                                                  authorized Google employees. The Court
                                                                                      finds that there are compelling reasons to
                                  11                                                  seal the entire gHire dossiers because they
                                                                                      contain competitively sensitive information,
                                  12                                                  and disclosure of the dossiers could
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                                                                                      compromise the objectivity of interviewers’
                                  13                                                  assessments. Ong. Decl. ¶¶ 4–5. These
                                                                                      documents were previously filed under seal
                                  14                                                  pursuant to Court order. ECF 253.
                                  15                                                  Because the entirety of the documents may
                                                                                      be sealed, no further action is required.
                                  16     351     Berry Decl. Ex. 3      GRANTED as    The document contains detailed
                                       (352-5)   (Excerpts from         to entire     commercially sensitive information about the
                                  17             deposition of Google’s document.     stages in Google’s hiring process,
                                                 Rule 30(b)(6) witness)               descriptions of how gHire is used to record
                                  18                                                  and display information about candidates,
                                                                                      information about the criteria Google uses to
                                  19                                                  evaluate candidates, and revisions to
                                                                                      Google’s interview feedback system. Ong.
                                  20                                                  Decl. ¶ 6. Significant portions of this
                                                                                      document were previously filed under seal
                                  21                                                  pursuant to Court order. ECF 253.
                                  22                                                  Because the entirety of the document may be
                                                                                      sealed, no further action is required.
                                  23

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                                         351-1   Berry Decl. Exs. 4–7     GRANTED as   These exhibits contain sensitive records
                                   1   through   (expert reports and      to entire    pertaining to candidates for positions at
                                         351-4   gHire dossiers and       documents.   Google, and further reflect Google’s
                                   2    (352-6   records)                              competitively sensitive commercial
                                        though                                         information related to its strategies and
                                   3    352-9)                                         techniques for interviewing and evaluating
                                                                                       candidates for SWE, SRE, and SysEng
                                   4                                                   positions. Ong. Decl. ¶¶ 7, 8. This Court
                                                                                       has previously ordered that the same or
                                   5                                                   substantially similar materials are sealable
                                                                                       because they disclose confidential
                                   6                                                   information about Google’s hiring process.
                                                                                       See ECF 105, 253, 298. In particular, the
                                   7                                                   Court has consistently sealed Google’s gHire
                                                                                       records including gHire committee notes.
                                   8                                                   ECF 105.
                                   9                                                   Because the entirety of the documents may
                                                                                       be sealed, no further action is required.
                                  10    351-6    Berry Decl. Exs. 9-10    GRANTED as   These exhibits contain sensitive records
                                         and     (gHire records           to entire    pertaining to candidates for positions at
                                  11    351-7    including internal       documents.   Google, including gHire data, and further
                                       (352-11   interviewer and Hiring                reflect Google’s competitively sensitive
                                  12     and     Committee notes and                   commercial information related to its
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                                       352-12)   evaluations related to                strategies and techniques for interviewing
                                  13             candidates)                           and evaluating candidates for SWE, SRE,
                                                                                       and SysEng positions. Ong. Decl. ¶ 7. This
                                  14                                                   Court has previously ordered that the same or
                                                                                       substantially similar materials are sealable
                                  15                                                   because they disclose confidential
                                                                                       information about Google’s hiring process.
                                  16                                                   See ECF 105, 253, 298.
                                  17                                                   The documents also contain putative date of
                                                                                       birth information that Plaintiffs have
                                  18                                                   produced as confidential. The Court finds
                                                                                       that compelling reasons exist to protect an
                                  19                                                   individual’s privacy interest and to prevent
                                                                                       exposure to or harm or identity theft. This
                                  20                                                   Court has previously sealed the same or
                                                                                       similar information. See ECF 152; ECF 197,
                                  21                                                   ECF 256.
                                  22                                                   Because the entirety of the documents may
                                                                                       be sealed, no further action is required.
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                                        351-8        Berry Decl., Exs. 11–     GRANTED as       Google seeks to redact the names of certain
                                   1   through       41 (excerpts and          to the names     opt-in plaintiffs, which Plaintiffs have
                                       351-25        exhibits from the         of opt-in        designated confidential. Ong. Decl. ¶ 10.
                                   2   (352-13       depositions of the Opt-   plaintiffs.      Though Plaintiffs did not file the required
                                       through       In Plaintiffs)                             declaration in support of sealing, the Court
                                   3   352-43)                                 DENIED as to     finds compelling reasons to seal these names,
                                                                               the remainder.   as it has in prior orders. See ECF 256, 298,
                                   4                                                            323, 325, 333.
                                   5                                                            The remainder is denied because Plaintiffs,
                                                                                                the designating party, have not filed a
                                   6                                                            declaration in support of the sealing. Civ.
                                                                                                L.R. 79-5(e).
                                   7
                                                                                                Google is ORDERED to file versions of
                                   8                                                            these documents in the public record with the
                                                                                                names of the opt-in plaintiffs redacted no
                                   9                                                            earlier than 4 days and no later than 10 days
                                                                                                from the date of this order.
                                  10

                                  11
                                                B.     ECF 353
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                                       ECF              Document to be           Result                          Reasoning
                                  13
                                       No.                  Sealed:
                                  14    353-3        Portions of Motion for GRANTED as          References sealable material in below
                                        (355)        Leave to file Motion   to redacted         exhibits.
                                  15                 for Reconsideration of portions.
                                                     Order Denying Motion                       Because the redacted portions of the
                                  16                 for Decertification                        document may be sealed, no further action is
                                                                                                required.
                                  17    353-4        Berry Decl. Exs. 1–4      GRANTED as       These exhibits contain sensitive records
                                       through       (the Parties’ expert      to entire        pertaining to candidates for positions at
                                  18    353-7        reports)                  documents.       Google, and further reflect Google’s
                                        (355-2                                                  competitively sensitive commercial
                                  19   through                                                  information related to its strategies and
                                        355-5)                                                  techniques for interviewing and evaluating
                                  20                                                            candidates for SWE, SRE, and SysEng
                                                                                                positions. Ong. Decl. ¶¶ 3–4, ECF 376. This
                                  21                                                            Court has previously ordered that the same or
                                                                                                substantially similar materials are sealable
                                  22                                                            because they disclose confidential
                                                                                                information about Google’s hiring process.
                                  23                                                            See ECF 105, 253, 298. In particular, the
                                                                                                Court has consistently sealed Google’s gHire
                                  24                                                            records including gHire committee notes.
                                                                                                ECF 105.
                                  25
                                                                                                Because the entirety of the documents may
                                  26                                                            be sealed, no further action is required.

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                                              C.      ECF 359
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                                   2     ECF            Document to be           Result                         Reasoning
                                         No.               Sealed:
                                   3      359        Portions of Plaintiffs’ GRANTED as       The Court finds compelling reasons to seal
                                                     Response in             to redacted      the redacted portions because they quote,
                                   4                                                          summarize, or cite the expert reports that this
                                                     Opposition to           portions.
                                                                                              Court has deemed sealable in this Order. See
                                   5                 Defendant Google                         supra re ECF 353-4 through 353-7; 351-1
                                                     LLC’s Motion for                         through 351-4; see also Ong Decl. ¶¶ 3–4,
                                   6                 Leave for                                ECF 370.
                                                     Reconsideration of
                                   7                 Order Denying Motion                     Because the redacted portions of the
                                                     for Decertification                      document may be sealed, no further action is
                                   8                                                          required.
                                   9

                                  10
                                       III.        ORDER
                                  11               For the foregoing reasons, the sealing motions at ECF 353 and 359 are GRANTED, and
                                  12   the sealing motion at ECF 350 is GRANTED IN PART AND DENIED IN PART without
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                                  13   prejudice. In particular, the Court DENIED without prejudice Google’s request to file under seal
                                  14   Exhibits 11–41 of the Berry Declaration in support of Google’s Motion for Summary Judgment,
                                  15   except as to the names of the opt-in plaintiffs, because Plaintiffs (the designating party) have not
                                  16   filed a declaration in support of the sealing. Google must file redacted versions of the documents
                                  17   into the public record no earlier than 4 days and no later than 10 days form the filing of this order.
                                  18
                                  19               IT IS SO ORDERED.
                                  20

                                  21   Dated: September 20, 2018
                                  22                                                      ______________________________________
                                  23                                                      BETH LABSON FREEMAN
                                                                                          United States District Judge
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